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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF NEVADA

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Case No. 21-50466-btb
IN RE: (Chapter 13)

JULIANA MAYER LOZA,
EX-PARTE MOTION FOR ORDER

Debtor. SHORTENING TIME

Hearing Date: N/A
/ Hearing Time:

 

 

SUMMARY IMPACT OF REQUEST TO SHORTEN TIME

 

The subject Motion on which an Order Shortening Time is requested herein will have

an estimated 30 minute impact on the Court's calendar.

 

 

JULIANA MAYER LOZA (“Debtor”), by and through her attorney STEPHEN R.
HARRIS, ESQ. of HARRIS LAW PRACTICE LLC, hereby moves and represents as follows:

1. Debtor filed a Voluntary Petition for Chapter 13 relief on June 22, 2021.

2. On June 24, 2021, Debtor filed here DEBTOR’S MOTION FOR SANCTIONS
AGAINST LEVERTY & ASSOCIATES LAW, CHTD. AND ALLIED FORECLOSURE
SERVICES FOR WILLFUL VIOLATION OF THE § 362(a) AUTOMATIC STAY AND TO
DECLARE FORECLOSURE SALE VOID AB INITIO (Docket No. 7) (“Motion”).

3. The Motion seeks an Order: (1) Compelling Leverty & Associates Law, CHTD.

 
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and Allied Foreclosure Services to cancel any trustee sale deeds issued at the Real Property
trustee’s foreclosure sale; (2) finding that the Real Property trustee’s foreclosure sale was
conducted in violation of the 11 U.S.C. § 362(a) automatic stay and is void and of no effect; (3)
finding that Leverty & Associates Law, CHTD. and Allied Foreclosure Services knowingly and
willfully violated the automatic stay; (4) awarding Debtor emotional distress damages in the
amount of $50,000; (5) awarding Debtor punitive damages in the amount of $50,000, or more;
(6) awarding Debtor her actual attorneys’ fees and costs incurred in recovering her Real Property,
estimated at $10,000.00, to be determined after this Motion is fully adjudicated.

4. Time is of the essence in hearing the Motion because the trustee’s foreclosure sale
of the Debtor’s real property in violation of the automatic stay occurred on June 23, 2021, and
although the sale is void, the Debtor is suffering emotional distress due to Leverty & Associates
Law, CHTD. and Allied Foreclosure Services’ reckless actions.

5. Debtor will provide notice of the Motion via email or facsimile to Leverty &
Associates Law, CHTD.’s counsel and Allied Foreclosure Services’ counsel. All other creditors
shall receive notice of the Motion via regular U.S. Mail unless the Debtor can obtain email
addresses or facsimile numbers for such creditors.

WHEREFORE, Debtor respectfully requests that this Court enter an order shortening the
time for notice of hearing with respect to her DEBTOR’S MOTION FOR SANCTIONS
AGAINST LEVERTY & ASSOCIATES LAW, CHTD. AND ALLIED FORECLOSURE
SERVICES FOR WILLFUL VIOLATION OF THE § 362(a) AUTOMATIC STAY AND TO
DECLARE FORECLOSURE SALE VOID AB INITIO (Docket No. 7), so that such hearing may
be held by this Court on or before June 28, 2021, or as soon thereafter as may be convenient to
this Court’s calendar; and for such other and further relief as the Court deems just under the
circumstances.

DATED this 24" day of June 2021.
STEPHEN R. HARRIS, ESQ.
HARRIS LAW PRACTICE LLC
/s/ Stephen R. Harris

 

Attomeys for Debtor

 
